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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 SUSAN PHILLIPS and JEFFREY                        )
 PHILLIPS, administrators of the estate of         )
 MATTHEW PHILLIPS, deceased,                       )
                                                   )
                                Plaintiffs,        )    No. 22 C 1048
                                                   )
                        v.                         )    Judge Wood
                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                Defendant.         )

 THE UNITED STATES’ AGREED MOTION FOR ENTRY OF PROTECTIVE ORDER

       Defendant United States of America, by John R. Lausch, Jr., United States Attorney for

the Northern District of Illinois, with the agreement of plaintiffs Susan Phillips and Jeffrey Phillips,

as administrators of the estate of Matthew Phillips, deceased, and their counsel, requests that the

court enter the agreed protective order submitted with this motion and states as follows in support:

       1.      Plaintiff brings this Federal Tort Claims Act lawsuit against the United States of

America alleging wrongful death and negligence in connection with the death of USP Thomson

inmate Matthew Phillips.

       2.      The parties anticipate that discovery will include the disclosure and production of

records that are protected by the Privacy Act of 1974, 5 U.S.C. § 552a, and the Health Insurance

Portability and Accountability Act of 1996, Pub. L. No. 104-191, 110 Stat. 1936 (“HIPAA”). In

particular, the United States wishes to produce documents and information pertaining to plaintiffs’

administrative tort claim and Matthew Phillips’ medical records in the possession of the United

States, all of which may contain personal and/or health care information pertaining to Matthew

Phillips, employees of the Federal Bureau of Prisons, federal inmates, or other individuals who




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were involved in the incidents giving rise to this lawsuit. In addition, the United States anticipates

issuing subpoenas for Matthew Phillips’s medical records from third parties.

       3.      Further, the litigation of this matter may involve the production of information that

may compromise the safety and security of Bureau of Prisons operations, prison officials

(including their families), inmates, and the community if disclosed publicly. This includes but is

not limited to documents and information pertaining to sensitive internal policies of the Federal

Bureau of Prisons.

       4.      In order to permit the disclosure and discovery of information relevant to the subject

matters of this case in a manner that is consistent with the Privacy Act and HIPAA, is sensitive to

the security risks identified above, and does not provide undue public access, the United States

requests entry of the protective order submitted herewith. The proposed protective order specifies

that documents and information produced by the parties that fall within one or more of twelve

enumerated categories may be designated as confidential information that shall be used solely for

purposes of this litigation. In addition, language has been added to the proposed protective order

to allow the parties to designate certain documents as “attorneys’ and plaintiffs’ eyes only,” which

is intended to address the security concerns referenced in paragraph three, above.

       5.      The proposed protective order provides that it is without prejudice to the rights of

any party or interested member of the public to make any objection to the designation of

information as confidential information.

       6.      The proposed protective order has been agreed to by counsel for the United States

and plaintiffs. A copy of the proposed order is being e-mailed to the address that the court has

established for receipt of proposed orders.




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       WHEREFORE, defendant United States requests entry of the agreed protective order

submitted by e-mail.

                                        Respectfully submitted,

                                        JOHN R. LAUSCH., Jr.
                                        United States Attorney

                                        By: s/ Kathleen M. Przywara
                                           KATHLEEN M. PRZYWARA
                                           Assistant United States Attorney
                                           219 South Dearborn Street
                                           Chicago, Illinois 60604
                                           (312) 353-4137
                                           kathleen.przywara@usdoj.gov




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